Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.237 Filed 01/11/17 Page 1 of )3

UNITED STATES DISTRICT COURT ORIGINAL
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA

 

CRIMINAL NO. 16-20394

Vv. VIOLATION:
VOLKSWAGEN AG, 18 U.S.C. § 371

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Defendant. 18 U.S.C. § 542 = Bs

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THIRD SUPERSEDING INFORMATION bel LP ZO

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The United States Department of Justice, Criminal Division, Fraud ‘Wection, ~

the United States Attorney’s Office for the Eastern District of Michigan, and the

United States Department of Justice, Environment and Natural Resources Division,
Environmental Crimes Section, charge:

GENERAL ALLEGATIONS
l.

VW AG was a motor vehicle manufacturer based in Wolfsburg,

Germany. Together with its subsidiaries and affiliates, VW AG is referred to as
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ome

Audi AG (“Audi”) was a motor vehicle manufacturer based in

Ingolstadt, Germany and a subsidiary approximately 99.55% owned by VW AG.
3.

Volkswagen Group of America, Inc. (“VW GOA”) was a wholly-

 
 

Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.238 Filed 01/11/17 Page 2 of 13

owned subsidiary of VW AG based in Herndon, Virginia.

4, The purpose of the Clean Air Act and its implementing regulations was
to protect human health and the environment by, among other things, reducing
emissions of pollutants from new motor vehicles, including nitrogen oxides
(“NOx”).

5. The Clean Air Act required the U.S. Environmental Protection Agency
(“EPA”) to promulgate emissions standards for new motor vehicles. The EPA
established standards and test procedures for light-duty motor vehicles sold in the
United States, including emission standards for NOx.

6. The Clean Air Act prohibited manufacturers of new motor vehicles
from selling, offering for sale, introducing or delivering for introduction into U.S.
commerce, or importing (or causing the foregoing with respect to) any new motor
vehicle unless the vehicle complied with U.S. emissions standards, including NOx
emissions standards, and was issued an EPA certificate of conformity.

7. To obtain a certificate of conformity, a manufacturer was required to
submit an application to the EPA for each model year and for each test group of
vehicles that it intended to sell in the United States. The application was required to
be in writing, to be signed by an authorized representative of the manufacturer, and

to include, among other things, the results of testing done pursuant to the published

Federal Test Procedures that measure NOx emissions, and a description of the
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Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.239 Filed 01/11/17 Page 3 of 13

engine, emissions control system, and fuel system components, including adetailed
description of each Auxiliary Emission Control Device (“AECD”) to be installed on
the vehicle.

8. An AECD was defined under U.S. law as “any element of design which
senses temperature, vehicle speed, engine RPM, transmission gear, manifold
vacuum, or any other parameter for the purpose of activating, modulating, delaying,
or deactivating the operation of any part of the emission control system.” The
manufacturer was also required to include a justification for each AECD. If the EPA,
in reviewing the application fora certificate of conformity, determined that the AECD
“reduced the effectiveness of the emission control system under conditions which
may reasonably be expected to be encountered in normal vehicle operation and use,”
and that (1) it was not substantially included in the Federal] Test Procedure,

(2) the need for the AECD was not justified for protection of the vehicle against
damage or accident, or (3) it went beyond the requirements of engine starting, the
AECD was considered a “defeat device.”

9, The EPA would not certify motor vehicles equipped with defeat
devices. Manufacturers could not sell motor vehicles in the United States without a
certificate of conformity from the EPA.

10. The California Air Resources Board (“CARB”) (together with the EPA,

“U.S. regulators”) issued its own certificates, called executive orders, for the sale of
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Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.240 Filed 01/11/17 Page 4 of 13

motor vehicles in the State of California. To obtain such a certificate, the
manufacturer was required to satisfy the standards set forth by the State of
California, which were equal to or more stringent than those of the EPA.

11. As part of the application for a certification process, manufacturers
often worked in parallel with the EPA and CARB. To obtain a certificate of
conformity from the EPA, manufacturers were required to demonstrate that the light-
duty vehicles were equipped with an on-board diagnostic (“OBD”) system capable
of monitoring all emissions-related systems or components. Manufacturers could
demonstrate compliance with California OBD standards in order to meet federal
requirements. CARB reviewed applications from manufacturers, including VW, to
determine whether their OBD systems were in compliance with California OBD
standards, and CARB's conclusion would be included in the application the
manufacturer submitted to the EPA.

12. In 1998, the United States established new federal emissions standards
that would be implemented in separate steps, or Tiers. Tier I] emissions standards,
including for NOx emissions, were significantly stricter than Tier I. For light-duty
vehicles, the regulations required manufacturers to begin to phase in compliance
with the new, stricter Tier If NOx emissions standards in 2004 and required

manufacturers to fully comply with the stricter standards for model year 2007. These

strict U.S. NOx emissions standards were applicable specifically to vehicles in the
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. Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.241 Filed 01/11/17 Page 5of13

United States.

13. In the United States, VW sold, offered for sale, introduced into
commerce, delivered for introduction into commerce, imported, or caused the
foregoing actions (collectively, “sold in the United States”) the following vehicles
containing 2.0 liter diesel engines (“2.0 Liter Subject Vehicles”):

a. Model Year (“MY”) 2009-2015 VW Jetta;
b. MY 2009-2014 VW Jetta Sportwagen;
c. MY 2010-2015 VW Golf;
d. MY 2015 VW Golf Sportwagen;
e. MY 2010-2013, 2015 Audi A3;
f. MY 2013-2015 VW Beetle and VW Beetle Convertible; and
g. MY 2012-2015 VW Passat.
14. VW sold in the United States the following vehicles containing 3.0 liter

diesel engines (“3.0 Liter Subject Vehicles”):

 

a. MY 2009-2016 VW Touareg;

b. MY 2009-2015 Audi Q7;

c. MY 2014-2016 Audi A6 Quattro;
d. MY 2014-2016 Audi A7 Quattro;

e. MY 2014-2016 Audi A8L; and

f. MY 2014-2016 Audi QS.
5

 

 
. Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.242 Filed 01/11/17 Page 6 of 13

15. VW GOA’s Engineering and Environmental Office (“EEO”) was
located in Auburn Hills, Michigan, in the Eastern District of Michigan. Among other
things, EEO prepared and submitted applications (the “Applications”) for a
certificate of conformity and an executive order (collectively, “Certificates”) to the
EPA and CARB to obtain authorization to sell each of the 2.0 Liter Subject Vehicles
and 3.0 Liter Subject Vehicles (collectively, the “Subject Vehicles”) in the United
States, Audi supplied the 3.0 Liter diesel engine and related emissions software for
use in and sale of MY 2013-2016 Porsche Cayenne diesel vehicles (the “Porsche
Vehicles”) in the United States. VW GOA’s Test Center California performed

testing related to the Subject Vehicles.

OUNT 1
(18 U.S.C. § 371 — Conspiracy to Defraud the United States,

to Commit Wire Fraud, and to Violate the Clean Air Act)
16. Paragraphs | through 15 of this Third Superseding Information are
realleged and incorporated by reference as though fully set forth herein.
17. From at least in or about May 2006 and continuing through at least
November 2015, in Oakland County, within the Eastern District of Michigan, and
elsewhere, defendant VOLKSWAGEN AG along with others, known and unknown

to the Grand Jury, did willfully, knowingly, and deliberately combine, conspire, and

confederate and did agree to:

 
 

Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.243 Filed 01/11/17 Page 7 of 13

a. defraud the United States by impairing, impeding, obstructing, and
defeating a lawful function of the federal government, that is, the U.S.

EPA’s function of implementing and enforcing emissions standards for

 

air pollutants for new motor vehicles under the Clean Air Act, by
deceitful or dishonest means, in violation of 18 U.S.C. $371;

b, commit wire fraud, that is, knowingly, willfully, and with the intent to
defraud, having devised and intending to devise a scheme and artifice
to defraud and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, transmit
and cause to be transmitted by means of wire, radio, and television
communication, writings, signs, signals, pictures, and sounds in
interstate and foreign commerce for the purpose of executing such

scheme and artifice in violation of 18 U.S.C. § 1343; and

c. violate the Clean Air Act, by making and causing to be made, false
material statements, representations, and certifications in, and omitting
and causing to be omitted material information from, notices,
applications, records, reports, plans, and other documents required

pursuant to the Clean Air Act to be filed or maintained, in violation of

42 U.S.C. § 7413(cX2)(A).

 
Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.244 Filed 01/11/17 Page 8 of 13

Purpose of the Conspiracy

18. The purpose of the conspiracy was for VW AG and its co-conspirators
to unlawfully enrich themselves by, among other things, (a) deceiving U.S.
regulators in order to obtain the necessary certificates to sell the Subject Vehicles
and the Porsche Vehicles in the United States; (b) selling the Subject Vehicles and
the Porsche Vehicles in the United States knowing that those vehicles did not meet
U.S. emissions standards; (c) deceiving VW’s U.S. customers by marketing the
Subject Vehicles and the Porsche Vehicles as “clean diesel” and environmentally-
friendly knowing that the diesel vehicles were intentionally designed to detect, evade
and defeat U.S. emissions standards; and (d) concealing these facts from U.S.
regulators and U.S. customers.
19. From approximately May 2006 to approximately November 2015, VW
AG agreed to deceive U.S. regulators and U.S. customers about whether the Subject
Vehicles and the Porsche Vehicles complied with U.S. emissions standards. During
their involvement with design, marketing and/or sale of the Subject Vehicles and the
Porsche Vehicles in the United States, VW AG: (a) knew that the Subject Vehicles
and the Porsche Vehicles did not meet U.S. emissions standards; (b) knew that VW

was using software to cheat the U.S. testing process by making it appear as if the

Subject Vehicles and the Porsche Vehicles met U.S. emissions standards when, in
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. Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.245 Filed 01/11/17 Page 9 of 13

fact, they did not; and (c) attempted to and did conceal these facts from U.S.
regulators and U.S. customers.
Overt Acts

20. On or about April 8, 2008, VW AG, through VW GOA’s EEO in
Auburn Hills, Michigan, submitted the application for certification for the Model
Year 2009 VW Jetta and Jetta Sportwagen vehicles.

21. On or about October 31, 2013, VW AG, through VW GOA’s EEO in
Auburn Hills, Michigan, submitted the final Application to EPA for Certification for
the Model Year 2013 VW Jetta, Jetta Sportwagen, Golf and Beetle and Beetle
Convertible vehicles.

All in violation of 18 U.S.C. § 371.

COUNT 2
(18 U.S.C. § 1512 — Obstruction of Justice)

22. Paragraphs 1 through I5 of this Third Superseding Information are
realleged and incorporated by reference as though fully set forth herein.

23. From at least in or about August 2015 and continuing through in or
about September 2015, in Oakland County, within the Eastern District of Michigan,

and elsewhere, defendant VOLKSWAGEN AG did corruptly alter, destroy, mutilate

and conceal business records of VW AG with the intent to impair the integrity of the

 

 
. Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.246 Filed 01/11/17 Page 10 of 13

records and their availability for use in official proceedings, that is, proceedings
before a federal grand jury and proceedings before the EPA.
Acts of Obstruction

24, On or about August 31, 2015, following a meeting to prepare for a
presentation to a U.S. regulator in which VW’s use of the defeat device would be
revealed, a VW AG supervisor deleted a folder on a computer regarding the EA 288
engine, deleted emails with the term “acoustic function,” and instructed other
subordinate employees to delete documents relating to diesel emissions issues.

25. At various times after September 18, 2015,a VW AG employee deleted
files and emails related to the defeat device from VW AG computers.

All in violation of 18 U.S.C. § 1512(c)(1).

COUNT3
(18 U.S.C. § 542 — Entry of Goods by False Statement)

26. Paragraphs | through 15 of this Third Superseding Information are
realleged and incorporated by reference as though fully set forth herein.

27. From at least in or about January 2009 and continuing through in or
about September 2015, in Oakland County, within the Eastern District of Michigan,
and elsewhere, defendant VOLKSWAGEN AG did enter and introduce, and attempt
to enter and introduce, into the commerce of the United States, imported

merchandise, to wit, diesel motor vehicles, by means of false or fraudulent written

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» Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.247 Filed 01/11/17 Page 11 of 13

statements and practices that were material to the entry of the merchandise, to
wit, falsely representing, at the time of importation, entry, or introduction into the
United States, or at the time of attempted importation, entry, or introduction into
the United States, that the vehicles complied with all U.S. environmental laws
and regulations necessary for admission to the United States; affixing
manufacturer’s labels to the vehicles asserting compliance with applicable
emissions requirements, knowing such statements to be false when made; and
failing to disclose that the vehicles were equipped with an undisclosed and
prohibited “defeat device” which caused the vehicles to be inadmissibie to the
United States.

All in violation of 18 U.S.C. § 542.

 

 

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Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.248 Filed 01/11/17 Page 12 of 13

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Case 2:16-cr-20394-SFC-APP ECF No. 32, PagelD.249 Filed 01/11/17 Page 13 of 13

 

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 2:16-cr-20394

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects,

 

Companion Case Information Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b}(4)’: Judge Assigned:
Cl ves No AUSA'sInitials: LA

 

 

 

 

 

Case Title: USAv. JAMES LIANG, et al.

County where offense occurred ; Oakland County

Check One: XI Felony LIMisdemeanor _]Petty
Indictment/ Information --- no prior compiaint.
Indictment/ Information --- based upon prior complaint [Case number: |

Indictment/__¥_Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: 16-cr-20394 Judge: Sean F. Cox

[_]Corrects errors; no additional charges or defendants.
[x] Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

 

Defendant name Charges Prior Complaint (if applicable)
VOLKSWAGEN AG 18 USC § 371, §1512(c),
and § 542

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.
January 11, 2017 of t pA
Date Jofin K. Neal

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Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16

 

 
